                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,                              )
                                                       )
                               Plaintiff,              )
                                                       )
vs.                                                    )    Case No. 14-00029-03-CR-W-GAF
                                                       )
OLUFEMI SIFFRE,                                        )
                                                       )
                               Defendant.              )

                                             ORDER

       On September 20, 2016, Defendant appeared pursuant to Fed.R.Crim.P. 11, Local Rule

72.1(j)(27), and 28 U.S.C. § 636 and entered a plea of guilty to Count One of the Superseding

Indictment (doc. 51) before United States Magistrate Judge John T. Maughmer. On September

20, 2016, Judge Maughmer issued his Report and Recommendation (doc. 564). Objections were

due on or before October 7, 2016. No objections were filed.

       Upon careful and independent review, this Court finds that defendant’s plea was

knowledgeable and voluntary and that the offense charged is0 supported by an independent basis

in fact containing each of the essential elements of such offense. Accordingly, this Court hereby

adopts and incorporates as its own Opinion and Order the Report and Recommendation of

United States Magistrate Judge John T. Maughmer.

       Accordingly, it is hereby ORDERED that defendant’s plea of guilty is accepted and

defendant is adjudged guilty. The defendant’s sentencing hearing will be scheduled and the

parties notified of the date and time of sentencing.

       SO ORDERED.

                                                       s/ Gary A. Fenner
                                                       GARY A. FENNER, JUDGE
                                                       UNITED STATES DISTRICT COURT
DATED: October 12, 2016

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